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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No.

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. MICHAEL ANTHONY ROMERO,

     Defendant.


                                      INDICTMENT

                         21 U.S.C. §§ 841(a)(1) and (b)(1)(B)


       The Grand Jury Charges that:

                                      COUNT ONE

       On or about January 8, 2003, within the State and District of Colorado,

defendant, MICHAEL ANTHONY ROMERO, did unlawfully, knowingly and intentionally

possess with intent to distribute a quantity of 500 grams or more of a mixture and

substance containing a detectable amount of cocaine, a controlled substance listed in

Schedule II, Title 21, United States Code, Section 812, and the regulations enacted

thereunder, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)(1)(B).

                                      COUNT TWO

       On or about May 31, 2006, within the State and District of Colorado, defendant,

MICHAEL ANTHONY ROMERO, did unlawfully, knowingly and intentionally possess

with intent to distribute a quantity of 500 grams or more of a mixture and substance
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containing a detectable amount of cocaine, a controlled substance listed in Schedule II,

Title 21, United States Code, Section 812, and the regulations enacted thereunder, in

violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

                              COUNT THREE (FORFEITURE)

       In committing the felony offense alleged in Count Two of this Indictment, punishable

by imprisonment for more than one year, defendant MICHAEL ANTHONY ROMERO shall

forfeit all property constituting or derived from any proceeds obtained, directly or indirectly;

and any property used, or intended to be used, in any manner or part to commit or facilitate

the commission of said controlled substance violation alleged in Count Two of this

Indictment, including but not limited to: $4,405.00 in United States Currency seized from

his person or his residence in Pueblo, Colorado, on or about May 31, 2006.

       By virtue of the commission by this defendant of the felony offense charged in Count

Two of this Indictment, any and all interest the defendant has in the above-described

property is vested in the United States and hereby forfeited to the United States pursuant

to Title 21, United States Code, Section 853(a)(1) and (a)(2).

       If the property described above as being subject to forfeiture pursuant to Title 21,

United States Code, Section 853, as a result of any act or omission of the defendant -

              (1)     cannot be located upon the exercise of due diligence;

              (2)     has been transferred or sold to, or deposited with, a third person;

              (3)     has been placed beyond the jurisdiction of the Court;

              (4)     has been substantially diminished in value, or

              e.      has been commingled with other property which cannot be subdivided



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                     without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of said

property listed above as being subject to forfeiture.

                                                 A TRUE BILL:


                                                 s/Foreperson
                                                 FOREPERSON


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